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                   Exhibit 1
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



  FEDERAL TRADE COMMISSION,

                     Plaintiff,
                                                           Case No. 1:20-cv-03590-JEB
                v.

  META PLATFORMS, INC.,

                     Defendant.


             META PLATFORMS, INC.’S FIRST SET OF INTERROGATORIES
                     TO THE FEDERAL TRADE COMMISSION

        Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant Meta Platforms,

Inc., requests that the Federal Trade Commission serve a written response to this First Set of

Interrogatories. The requested answers must be provided within thirty (30) days after service of

these interrogatories or at such other time as may be directed by the Court or agreed to by the

parties. Plaintiff shall answer the following interrogatories separately and fully in writing, under

oath, and serve the answers at the offices of Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.,

located at 1615 M Street, N.W., Suite 400, Washington, D.C. 20036.

                                           DEFINITIONS

        1.      “Action” means the above-captioned action pending in this Court, including any

related discovery, pretrial, trial, post-trial, or appellate proceedings.

        2.      “Amended Complaint” means the Substitute Amended Complaint for Injunctive

and Other Equitable Relief filed in this Action by Plaintiff, the Federal Trade Commission on

September 8, 2021.
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          3.    “Communication” means the transmittal of information or request for

information, including, but not limited to, any written contact between two or more people by

such means as letters, memoranda, facsimile transmissions, and emails, and oral contact between

two or more people by such means as face-to-face meetings and telephone conversations.

          4.    “Complaint” means the Complaint filed in this Action by Plaintiff, the Federal

Trade Commission on December 9, 2020.

          5.    “Date” means the exact day, month, and year if ascertainable; if not, the closest

approximation that can be made by means of relationship to other events, locations, or matters.

          6.    “Document” or “Documents” means all documents or electronically stored

information as defined in Federal Rule of Civil Procedure 34(a).

          7.    “Electronically-Stored Information” or “ESI” means all Documents that are stored

in any electronic medium from which information can be obtained, including source code.

          8.    “Facebook,” unless the context requires otherwise, means the application and

website offered by Meta that is sometimes referenced internally at Meta as “Facebook Blue,” and

described in the Amended Complaint as “Facebook Blue.”

          9.    “Instagram” means Instagram, LLC and all Persons or entities acting or that have

acted on its behalf, including, but not limited to, divisions, subsidiaries, holding companies,

parents, successors, predecessors, Instagram, Inc., and any other related entity.

          10.   “Meta” means Meta Platforms, Inc., and all Persons or entities acting or that have

acted on its behalf, including, but not limited to, divisions, subsidiaries, holding companies,

parents, successors, predecessors, Facebook, Inc., Instagram, WhatsApp, and any other related

entity.




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        11.     “Person” means any person and includes natural persons, corporations, firms,

partnerships, proprietorships, associations, joint ventures, State, Territory, government agencies

or entities, and other enterprises or legal entities.

        12.     “Pre-Complaint Investigation” means the Federal Trade Commission’s

investigation conducted in 2019 and 2020 into whether Meta engaged or is engaging in a

violation or violations of antitrust laws that was initially disclosed to Meta in 2019, including,

but not limited to, the investigation or file referred to as FTC File No. 191-0134, and any pre-

investigative activity, review, inquiry, information gathering, or collection of Documents You

engaged in, in relation to Meta’s conduct that occurred prior to the commencement of any formal

or informal investigation or inquiry in 2019.

        13.     “Prior Instagram Investigation” means the Federal Trade Commission’s

investigation to determine whether the proposed acquisition of Instagram by Meta may violate

federal antitrust laws that culminated on August 22, 2012, including, but not limited to, the

investigation or file referred to as FTC File No. 121-0121, and any pre-investigative activity,

review, inquiry, information gathering, or collection of Documents You engaged in, in relation to

Meta’s proposed acquisition of Instagram that occurred prior to the commencement of any

formal or informal investigation or inquiry in 2012.

        14.     “Prior WhatsApp Review” means the Federal Trade Commission’s review in

2014 of Meta’s acquisition of WhatsApp that was reported under the Hart-Scott-Rodino Antitrust

Improvements Act of 1976, 16 C.F.R. §§ 801-803, including, but not limited to, any

investigation, activity, review, inquiry, information gathering, or collection of Documents You

engaged in, in relation to Meta’s proposed acquisition of WhatsApp that occurred prior to the

commencement of any formal or informal review in 2014.



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       15.     “Product” means any product, application, software, technology, or service

offered by a company, including, but not limited to, any product, software, technology, or service

that are no longer offered to users today. This definition of Product includes, but is not limited

to, any product, application, software, technology, or service offered by Meta, Facebook,

Instagram, WhatsApp, or any other company.

       16.     “Relating to” or “in relation to” means concerning, constituting, regarding,

referring to, describing, discussing, embodying, evidencing, memorializing, mentioning,

recording, studying, analyzing, reflecting, pertaining to, supporting, refuting, responsive to, or

with respect to.

       17.     “You” or “Your” or “Federal Trade Commission” refers to Plaintiff, United States

Federal Trade Commission, including, but not limited to, any components, agents,

representatives, consultants, contractors, employees, attorneys, economists, experts, and any

other Person(s) acting or purporting to act with or on its behalf.

       18.     “WhatsApp” means WhatsApp LLC and all Persons or entities acting or that have

acted on its behalf, including, but not limited to, divisions, subsidiaries, holding companies,

parents, successors, predecessors, and any other related entity.

       19.     The definitions set forth above shall apply to all interrogatories.

                                  GENERAL INSTRUCTIONS

       1.      The words “and” and “or” shall be construed both conjunctively and

disjunctively, and each shall include the other wherever such dual construction will serve to

bring within the scope of these interrogatories any information that would otherwise not be

brought within their scope.




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       2.      The singular forms shall include the plural and vice versa wherever such dual

construction will serve to bring within the scope of these interrogatories any information that

would otherwise not be brought within their scope.

       3.      The words “any,” “each,” and “every” shall be construed to mean individually

and collectively wherever such dual construction will serve to bring within the scope of these

interrogatories any information that would otherwise not be brought within their scope.

       4.      The use of a verb in any tense, mood, or voice shall be construed as the use of the

verb in all tenses, moods, or voices, as necessary to bring within the scope of a topic all

information that might otherwise be construed to be outside of its scope.

       5.      These interrogatories call for all information (including any information contained

in or on any Document or writing) that is known or available to You or any other Person acting

under Your behalf or under Your direction or control.

       6.      Pursuant to Federal Rule of Civil Procedure 33(d), if an answer to an

interrogatory may be determined by examining, auditing, compiling, abstracting, or summarizing

Your business records (including Electronically-Stored Information), specify, in Your response

to the interrogatory, the records that must be reviewed by Bates number or other means sufficient

to enable Facebook to locate and identify the records as readily as You could.

       7.      Each interrogatory, including subparts, is to be answered by You separately,

completely, and fully, under oath. If You object to any part of an interrogatory, set forth the

basis for Your objection and respond to all parts of the interrogatory to which You do not object.

Any ground not stated in an objection within the time provided by the Federal Rules of Civil

Procedure, or any extensions thereof, shall be waived. All objections must be made with




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particularity and must set forth all the information upon which You intend to rely in response to

any motion to compel.

       8.      All objections must state with particularity whether, and in what manner, the

objection is being relied upon as a basis for limiting the response. If You are withholding

responsive information pursuant to any general objection, You should so expressly indicate. If,

in responding to any interrogatory, You claim any ambiguity in interpreting either the

interrogatory or a definition or instruction applicable thereto, You shall set forth as part of Your

response the language deemed to be ambiguous and the interpretation used in responding to the

interrogatory, and shall respond to the interrogatory as You interpret it.

       9.      If You cannot answer all or part of any interrogatory after exercising due

diligence to secure the full information to do so, so state and answer to the fullest extent possible,

specifying Your inability to answer the remainder. State whatever information or knowledge

You have concerning the unanswered portion, and detail what You did in attempting to secure

the unknown information.

       10.     Except as modified by the Scheduling Order between the parties, if information or

a Document is withheld under claim of privilege, including, but not limited to, attorney-client

privilege and or work product doctrine: (1) identify the date, the author, and all recipients of the

Document or information; (2) describe the form of the Document, Communication, or

information (e.g., whether it is a letter, memorandum, email, conversation, etc.); (3) describe

generally the content of the Document or information withheld; (4) state the specific privilege

upon which you rely and the specific basis for asserting such privilege; and (5) identify the

interrogatory to which the allegedly privileged information is responsive.




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       11.      Each interrogatory shall be construed independently and, therefore, no

interrogatory shall be construed to limit any other interrogatory.

       12.      For each interrogatory requesting that You “state” or “explain” or “identify” or

“specify” the basis for Your contentions, decisions, assertions, claims, calculations, or answer,

Your response shall describe in detail the basis for Your contentions, assertions, claims,

decisions, calculations, or answer and include (and specifically identify) any related facts,

witnesses (name, title, address, and phone number), and Documents (Bates number), including

any studies, analyses, models, or other Documents that You considered or relied upon as a basis

for each contention, decision, assertion, claim, calculation, or answer.

       13.      For each interrogatory requesting that You identify an action, event, occurrence,

meeting, or Communication, separately state for each responsive action, event, occurrence,

meeting, or Communication the Persons involved in the action, event, occurrence, meeting, or

Communication, their position and employer (or other relevant affiliation), the date of the action,

event, occurrence, meeting, or Communication, the medium of the action, event, occurrence,

meeting, or Communication (e.g., phone, in-person, email, letter, twitter, press conference, etc.),

and identify all Documents (by Bates number) memorializing or constituting the action, event,

occurrence, meeting, or Communication, and a description of the facts conveyed in the action,

event, occurrence, meeting, or Communication to the extent they are not memorialized in a

Document produced in this Action. If such Documents or information are withheld on the basis

of a privilege, provide all information required for a privilege log, as described in these

instructions.

       14.      For each interrogatory requesting that you identify a Person, (i) state the full

name; (ii) state the present or last known business address, and, in the case of a natural person,



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residence address; (iii) state the present or last known business telephone number, and, in the

case of a natural person, residence telephone number and email address; and (iv) state the

Person’s present or last known position, employer, and primary line of business.

       15.     Unless otherwise stated, the relevant time period for all interrogatories is from

January 1, 2011 to the present.

       16.     These interrogatories are continuing in nature. If further information, evidence, or

documentation comes into Your possession, custody, or control or is brought to the attention of

You or Your attorneys or agents at any time subsequent to the service of any responses, prompt

and complete supplementation of the responses to these interrogatories is required pursuant to

the Federal Rules of Civil Procedure.

                                     INTERROGATORIES

INTERROGATORY NO. 1:

       Identify all Persons You communicated with relating to Your Prior Instagram

Investigation, Prior WhatsApp Review, Pre-Complaint Investigation, or any allegation in the

Complaint or Amended Complaint.

INTERROGATORY NO. 2:

       Identify all Communications between You and any other Person relating to the Prior

Instagram Investigation, Prior WhatsApp Review, Pre-Complaint Investigation, or any allegation

in the Complaint or Amended Complaint.

INTERROGATORY NO. 3:

       Identify all Products that have offered “personal social networking services” in the

United States (see Amended Complaint ¶ 164), and the time periods during which those Products

offered personal social networking services.



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INTERROGATORY NO. 4:

       State the basis for Your decision to permit Meta’s acquisition of Instagram to proceed in

2012 without challenging the transaction in an administrative proceeding or in federal court. See

Fed. Trade Comm’n, FTC Closes Its Investigation Into Facebook’s Proposed Acquisition of

Instagram Photo Sharing Program (Aug. 22, 2012), https://www.ftc.gov/news-events/news/

press-releases/2012/08/ftc-closes-its-investigation-facebooks-proposed-acquisition-instagram-

photo-sharing-program. 1

INTERROGATORY NO. 5:

       State the basis for Your decision to permit Meta’s acquisition of WhatsApp to proceed in

2014 without challenging the transaction in an administrative proceeding or in federal court.

INTERROGATORY NO. 6:

       State whether You decided in 2012 that Meta’s acquisition of Instagram would or would

not violate Section 7 of the Clayton Act, 15 U.S.C. § 18, or that the effect of the acquisition may

be substantially to lessen competition, and state the basis for Your decision.

INTERROGATORY NO. 7:

       State whether You decided in 2014 that Meta’s acquisition of WhatsApp would or would

not violate Section 7 of the Clayton Act, 15 U.S.C. § 18, or that the effect of the acquisition may

be substantially to lessen competition, and state the basis for Your decision.




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          Your response to this interrogatory, and other interrogatories asking that You state the
basis for Your contentions or decisions, must include the information described in Instruction
No. 12, above.


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INTERROGATORY NO. 8:

       Identify all Persons employed by or affiliated with You (including employees, attorneys,

economists, representatives, experts, agents, consultants, and contractors) who participated in

Your Prior Instagram Investigation, and for each such Person, indicate whether he or she is still

employed by or affiliated with You or acting on Your behalf.

INTERROGATORY NO. 9:

       Identify all Persons employed by or affiliated with You (including employees, attorneys,

economists, representatives, experts, agents, consultants, and contractors) who participated in

Your Prior WhatsApp Review, and for each such Person, indicate whether he or she is still

employed by or affiliated with You or acting on Your behalf.

INTERROGATORY NO. 10:

       For each feature or activity available to users on Facebook, Instagram, WhatsApp, or

Facebook Messenger, specify whether the feature or activity is or is not within the definition of

“personal social networking” (see Amended Complaint ¶ 164).

INTERROGATORY NO. 11:

       For each Product identified by You in response to Interrogatory No. 3, provide the total

number of minutes spent by users on personal social network features or activities on that

Product for each year from 2011 to the present (see Amended Complaint ¶ 202).

INTERROGATORY NO. 12:

       State whether a user is engaging in personal social networking services when that user is

not utilizing each of the “[t]hree key elements” of personal social networking (see Amended

Complaint ¶¶ 166-169), and state the basis for your answer.




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Dated: March 30, 2022                  Respectfully submitted,



                                          /s/ Mark C. Hansen
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                                          Counsel for Defendant Meta Platforms, Inc.




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                              CERTIFICATE OF SERVICE

      I hereby certify that on March 30, 2022, I caused true and correct copies of the foregoing

FIRST SET OF INTERROGATORIES to be served via electronic mail on counsel listed below:

Daniel Matheson
Owen Masters
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